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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                  Criminal No. 17-181 (JRT/DTS)
                                Plaintiff,

v.                                                     MEMORANDUM
                                                     OPINION AND ORDER
DELEON COLTAY WALKER,

                               Defendant.


      Gregory Brooker, Acting United States Attorney, and Surya Saxena, Assistant
      United States Attorney, UNITED STATES ATTORNEY’S OFFICE, 300
      South Fourth Street, Suite 600, Minneapolis, MN 55415, for plaintiff.

      John C. Brink, 310 Fourth Avenue South, Suite 1008, Minneapolis, MN
      55415, for defendant.


      Deleon Coltay Walker has been indicted for being a Felon in Possession of a

Firearm and Armed Career Criminal (Count 1) and for Interference with Commerce by

Robbery (Count 2). Walker filed a series of pretrial motions, and the Magistrate Judge

issued a Report and Recommendation (“R&R”) that the motions be denied. (R&R, Oct.

25, 2017, Docket No. 41.) Walker objected to portions of the R&R. (Objs., Nov. 8, 2017,

Docket No. 42.) The United States contests some of Walker’s objections but stipulated

that it would not offer Rule 404(b) evidence related to prior bad acts at trial. (Resp. to

Objs. at 2-3, Nov. 21, 2017, Docket No. 45.) As such, a portion of the R&R is now moot.

Because the Court does not otherwise find error in the R&R, it will overrule Walker’s
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objections and adopt the R&R to the extent that it is consistent with this Opinion and

Order.


                                     DISCUSSION


I.       STANDARD OF REVIEW

         Upon the filing of a report and recommendation by a magistrate judge, “a party

may serve and file specific written objections to the proposed findings and

recommendations.” Fed. R. Civ. P. 72(b)(2); accord D. Minn. LR 72.2(b)(1). “The

objections should specify the portions of the magistrate judge’s report and

recommendation to which objections are made and provide a basis for those objections.”

Mayer v. Walvatne, No. 07-1958, 2008 WL 4527774, at *2 (D. Minn. Sept. 28, 2008).

“The district judge must determine de novo any part of the magistrate judge’s disposition

that has been properly objected to.” Fed. R. Civ. P. 72(b)(3); accord D. Minn. LR

72.2(b)(3).    “The district judge may accept, reject, or modify the recommended

disposition; receive further evidence; or return the matter to the magistrate judge with

instructions.” Fed. R. Civ. P. 72(b)(3); accord D. Minn. LR 72.2(b)(3).


II.      MOTIONS TO SUPRESS

         Walker has filed four motions to suppress.      (See Mot. to Suppress Elec.

Surveillance Evid. (“No. 22”), Aug. 21, 2017, Docket No. 22; Mot. to Suppress Search &

Seizure Evid. (“No. 24”), Aug. 21, 2017, Docket No. 24; Mot. to Suppress Interrogation

Evid. (“No. 25”), Aug. 21, 2017, Docket No. 25; Mot. to Suppress Ident. Evid. (“No.




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26”), Aug. 21, 2017, Docket No. 26.) The Magistrate Judge recommended denying two

of them (Nos. 22 & 25) as moot because the United States stipulated that it will not offer

the contested evidence.       (R&R at 4, 7.)         Walker does not object to those

recommendations, and the Court will adopt them.

       However, Walker does object to the Magistrate Judge’s recommendation that the

other two motions (Nos. 24 & 26) be denied. Those two motions relate in relevant part to

Walker’s prior arrests. In each, Walker argues that any illegally-obtained evidence must

be suppressed. The search and seizure motion is for evidence related to a January 5,

2013, arrest. (No. 24 at 1-2). The identification motion is for evidence related to arrests

on June 20 and July 6, 2005, and April 1, 2007. (No. 26 at 1-3.) The United States noted

that the evidence at issue was to be used at trial only under Rule 404(b) and at sentencing.

(Resp. to Mots. at 7, 10, Sept. 5, 2017, Docket No. 31.)            The Magistrate Judge

recommended denying the motions on the grounds that Walker showed neither that the

evidence at issue was unconstitutional nor legal authority that the exclusionary rule bars

Rule 404(b) evidence. (R&R at 4-7.)

       Walker objects to both of those grounds. (Objs. at 1-2.) First, Walker argues that

the Magistrate Judge improperly shifted the burden of proof on the issue of

constitutionality to the Defendant, citing extensive authority showing that it is the

Government’s burden to prove by a preponderance of the evidence that contested

evidence was obtained constitutionally. (Id. at 7 & n.1.) Second, Walker argues that

illegally-obtained evidence should not be introduced under Rule 404(b), at least to the

extent that it would be used to prove the crime charged. (Id. at 9-10.) Walker quotes


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from United States v. Hill, a Tenth Circuit case: “the exclusionary rule does apply where,

as here, the alleged unlawfully obtained evidence is being used to prove an essential

element of a charged offense—at least where there is some nexus between the initial

search and seizure and the subsequent charged offense.” 60 F.3d 672, 677-81 (10th Cir.

1995).

         The United States filed a response acknowledging that at least four circuits have

concluded that the exclusionary rule does bar certain illegally-obtained Rule 404(b)

evidence. 1 (Resp. to Objs. at 2-3.) Because the Eighth Circuit has not decided the

matter, the United States has elected to stipulate that it will not seek to offer evidence of

or about the contested acts at trial under Rule 404(b). 2 (Id. at 3.) As such, the Court will

deny as moot Walker’s motions as they relate to his prior arrests. 3


III.     MOTION TO DISMISS




         1
         The United States cites United States v. Farmer, 770 F.3d 1363, 1366 (10th Cir. 2014)
(“The Fourth Amendment’s exclusionary rule applies to preclude the Government’s use of
unlawfully obtained Rule 404(b) evidence 1) where the Government seeks to use that evidence
‘to prove an essential element of a charged offense,’ 2) ‘at least where there is some nexus
between the initial search and seizure and the subsequent charged offense.’” (quoting Hill, 60
F.3d at 677)) and United States v. Campbell, 609 F. Supp. 2d 674, 683-85 (E.D. Mich. 2009)
(discussing decisions of the Fifth, Seventh, Ninth, and Tenth Circuit Courts of Appeals).
         2
          The United States notes that “it may need to offer evidence of the Defendant’s prior
convictions if the Defendant does not enter into an Old Chief stipulation at trial.” (Resp. to Objs.
at 3.) In that event, the Court would entertain related motions in limine.
         3
         Walker did not object to the R&R with regard to the second part of his motion on search
and seizure evidence, which focused on his June 13, 2017, arrest for the instant offenses. As
such, the Court will adopt that portion of the R&R and deny the motion in relevant part.

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       Walker has also filed a motion to dismiss the charge against him because he is not

an Armed Career Criminal. (Mot. to Dismiss, Aug. 21, 2017, Docket No. 27.) The

Magistrate Judge concluded that it would be premature to make that determination.

(R&R at 7.) Walker objects, arguing that the alleged predicate crimes are elements of the

offense charged. (Objs. at 11.) Because Walker has misread the applicable Supreme

Court and Eighth Circuit precedents, the Court will overrule the objection.

       Walker relies on Alleyne v. United States, in which the Supreme Court stated that

“any fact that increases the mandatory minimum is an ‘element’ that must be submitted to

the jury.” 133 S. Ct. 2151, 2155 (2013). But that statement was a terse reference to the

Supreme Court’s earlier holding in Apprendi v. New Jersey, which Walker quotes only in

part: “Other than the fact of a prior conviction, any fact that increases the penalty for

a crime beyond the prescribed statutory maximum must be submitted to a jury, and

proved beyond a reasonable doubt.” 530 U.S. 466, 490 (2000) (emphasis added). 4 That

narrow-but-crucial exception was incorporated into the holding of Alleyne. 133 S. Ct. at

2160 n.1 (declining to revisit this “narrow exception” recognized in Almendarez-Torres

v. United States, 523 U.S. 224 (1998) and reaffirmed in Apprendi); United States v.

Hunter, 770 F.3d 740, 745 (8th Cir. 2014) (“[A]t least in this circuit, Almendarez-Torres

remains controlling precedent.”), cert denied, 135 S. Ct. 2338 (2015).




       4
         See also id. at 476 (quoting Jones v. United States, 526 U.S. 227, 243 n.6 (1999)
(“[A]ny fact (other than prior conviction) that increases the maximum penalty for a crime must
be charged in an indictment, submitted to a jury, and proven beyond a reasonable doubt.”)).

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      Walker does not dispute that he has committed a predicate felony that would

render him a felon in possession of a firearm. He disputes only whether two of the

felonies he committed are qualifying crimes of violence that would render him an Armed

Career Criminal. The Court need not decide that now. Even if they are not, Count 1

states an offense: Felon in Possession of a Firearm. As such, the Court will overrule the

objection, adopt the R&R in this respect, and deny Walker’s motion to dismiss.


                                          ORDER

      Based on the foregoing, and all the files, records, and proceedings herein, the

Court OVERRULES Defendant’s objections [Docket No. 42] and ADOPTS the Report

and Recommendations of the Magistrate Judge [Docket No. 41] to the extent that it is

consistent with this Opinion and Order.

      As such, IT IS HEREBY ORDERED that:

      1.     Defendant’s Motion to Suppress Electronic Surveillance Evidence [Docket

No. 22], Motion to Suppress Statements [Docket No. 25], and Motion to Suppress

Identification Evidence [Docket No. 26] are DENIED as moot.

      2.     Defendant’s Motion to Suppress Search and Seizure Evidence [Docket No.

24] is DENIED in part as moot and DENIED in part as follows:

             a. The motion is DENIED as moot with regard to evidence related to the

                 January 5, 2013, arrest.

             b. The motion is DENIED with regard to evidence related to the June 13,

                 2017, arrest.



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      3.     Defendant’s Motion to Dismiss [Docket No. 27] is DENIED.


DATED: January 12, 2018                      ______s/John R. Tunheim_____
at Minneapolis, Minnesota.                        JOHN R. TUNHEIM
                                                       Chief Judge
                                               United States District Court




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